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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                              Plaintiff,

vs.                                                  No. 19-CR-0077-JB

MICHAEL NISSEN,

                              Defendant.

                                    NOTICE OF APPEAL

       Notice is hereby given that Michael Nissen, above-named, appeals to the United States

Court of Appeals for the Tenth Circuit from the Judgment in a Criminal Case entered in this

action on the 27th day of August, 2021.


                                             Respectfully Submitted,
                                             /s/ Joe M. Romero, Jr.
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                                      Certificate of Service

        I hereby certify that, on August 29, 2021, the foregoing pleading was filed electronically
pursuant to CM/ECF procedures for the District of New Mexico, which caused the parties and/or
their counsel to be served by electronic transmission, as more fully reflected by the Notice of
Electronic Filing.

/s/ Joe M. Romero, Jr.
Joe M. Romero, Jr.
